Case 2:05-cV-02024-.]P|\/|-de Document 6 Filed 05/31/05 Page 1 ot 2 Page|D 16

N.EBBY ‘~_no
UNITED STATES DISTRICT (EFXB;_[{' VWE-.’Uh
SEI

WESTERN DISTRICT OF TE
WESTERN DIV'ISION

 

 

 

JACK C. REED, JUDGMENT IN A CIVIL CASE
Petitioner,
v.
T.C. OUTLAW, CASE NO: 05-2024 Ml/V
Respondent.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AN'.D DECREED that, in
accordance with the Order Denying Petition Pursuant to 28 U.S.C.
§ 2241, Order Certifying Appeal Not Taken in Good Faith and
Notice of Appellate Filing Fee entered May CBJ, 2005, this case
is DISMISSED.

APPROVED :

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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DA '“___`“_'

Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02024 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

lack Carlton Reed
FCI-l\/[El\/[PH[S

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P.O. Box 345 50
Memphis7 TN 3 8184--05 5

Honorable Jon McCalla
US DISTRICT COURT

